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Claim Chart for Saudi Aramco Energy Ventures website infringing on US Patents:

10296198, 8108792, 9405852, and 7712044
Screenshots captured from https://saev.com/ in December 2019.

 

Automated changing of a content set displaying in a designated display area of a

 

10, 296,198 webpage displaying on a display screen of a browser
Claim 1. Go to Saudi Aramco Energy Ventures website https://saev.com/, the capture of the top-
A method of screen portion of the homepage displaying in this portion of the page is shown below:

programming a
webpage of a
website to time-
share at least one
designated
displaying area of
a part of the
webpage to
display a plurality
of sets of content
one set of content
at a time, each for
a pre-designated
time interval
when the

webpage is
accessed by a user
through entering a
uniform resource
locater (URL) of
the webpage into
a web-browser on
an interactive
display screen of
an electronic
display device,
the method
comprising:
designating and
defining the at
least one
designated
displaying area in
a user desired
displaying area on
a desired part of
the webpage for
displaying a

 

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After the above 1“ image/content-set displays for a period of time, without any user
action, it automatically scrolled off the display screen (a designated display area at the top-
screen portion of the page), while a new (2") image/content-set automatically scrolls into
view in this display area (screen capture is shown below). Moving the cursor toward the
bottom of the displaying image/content-set, a floating icon structure in the form of 8
circular dots appears, one of which is colored green while the others are colored grey.

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energy ventures

Saud Aramco Energy Ventures LLC

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Aramco Energy Ventures Claim 7_10296198_9405852_8108792_7712044_ 12/09/2019

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plurality of sets of
content; designing
a plurality of sets
of content that a
website owner
most want users
of the website to
see on this part of
the webpage, and
program the
plurality of sets of
content to be
displayed in the
designated
displaying area of
the webpage and
store them in the
database of the
webpage;
designating a time
interval for
displaying each
set of the plurality
of sets of content;
programming the
displaying of the
webpage to
automatically
display the
plurality of sets of
content one at a
time in the
designated
displaying area of
the webpage
when the URL is
entered into the
web-browser by
the user, each set
of content
displaying for a
pre-designated
time interval for
the set of content,
including: after a
first set of content

of the plurality of

 

The set of 8 non-directional circular dots instructs the viewer that there are a total of 8
images/content-sets which are to be displayed in this designated display area, and the
green colored circular dot instruct which one of the 8 images/content-sets is presently
displaying in this designated display area. Each dot can be used to command the associated
content-set to be instantly displayed in or out of its turn. There is also a set of floating
directional icon structure in two arrows on the left side and the right side of the display
area, the one on the left pointing to the left, and the one on the right pointing to the right.
The directional floating icon allows a user/viewr/visitor to the site to command scrolling to
the next or the previously displaying image/content-set.

After the above 2" image/content-set displays for a period of time, without any user
action, it automatically scrolls to the left off the display area, while a new 3")

image/content-set scrolls into view in the display area from the right.
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After the above 3" content-set displays for a time period, without any user-initiated action,
it automatically scrolls to the left off the display screen while the next (4") content-set
automatically scrolls into the display area from the right.

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sets of content
displaying for a
first interval of
time,
automatically
removing the first
set of content
from the
designated
displaying area,
and moving into
the designated
displaying area a
second set of
content of the
plurality of sets of
content for a
second interval of
time, the second
set of content
replacing the first
set of content so
that there is
continual and
automatic
progressing to
display a next set
of content of the
plurality of sets of
content by
replacing an
immediately
preceding set of
content displayed
in the designated
displaying area,
and continually
looping through
the plurality of
sets of content
when no user
command is
issued for a
change,
automated
looping requiring
no user action,

 

it automatically scrolls to the left off the display screen while the next (5") content-set
automatically scrolls into the display area from the right.

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We seek evermore value...

through our strategic
investments & peal oS

 

After the above 5" content-set displays for a time period, without any user-initiated action,
it automatically scrolls to the left off the display screen while the next 6" ) content-set
automatically scrolls into the display area from the right.

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After the above 6" content-set displays for a 6" time interval, without any user-initiated
action, the display operation automatically changes to displaying the 7” content-set in the
designated display area for a 7" time interval.

In Aramco Energy Ventures’ application of this family of patents at this time, it deploys a
mechanism taught in the family of patented inventions, with which the displaying content-
set automatically scrolls to the left off the display screen while the next (6th) content-set
automatically scrolls into the display area from the right.

 

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except for when
an initiation
action to
commence
automated
looping is
desired; and
programming a
user-website
interaction
mechanism used
with the
designated
displaying area of
the webpage for
the user to receive
instructions from
the website and
for the website to
receive a user
command.

| Claim 5. The
method according
to claim 1,
wherein a content
set in the plurality
of content sets is
embedded with a
link, linking to
information
related to the
content set.

Claim 9. The
method according
to claim 1,
wherein a set of
floating
directional
indicators is
displayed
overlapping a
displaying content
set to allowa
viewer to access a
previously

 

   

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use of innovative downhole inflow
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After the above 7" content-set displays for a 7" time interval, without any user-initiated
action, the display operation automatically changes to displaying the 8" ontent-set in the
designated display area for a 8" time interval.

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Savi Aramco Energy Ventures LLC

has led a venture capital investment
into Novomer inc., an emerging
sustainable chemusiry company
pioneering a family of high
performance, environmentally
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intermediates

 

The eight content-sets continue to automatically cycle through the designated display area
without user action.

Each of the image/content-set is embedded with a link, linking to a page containing further
information and/or action venue related to the content-set, which when activated by a
user/viewer, the linked page is brought to display for the user/viewer. This display
operations used in www.saey.com infringe on Claim 5 of 10,296,198.

The display operations on the site also infringe on 9405852, 8108792 and all of the
other patents in this family of patents.

 

 

Aramco Energy Ventures Claim 7_10296198_9405852_8108792_7712044_12/09/2019

 
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displayed content
set, or to skip to a
next content set in

(a lineup of the

plurality of
content sets.

|Claim 10.

The method
according to
claim 1, wherein
a set of floating

\non-directional
| indicators is

displayed
overlapping a part
>

Infringements on Claim 10 of 10,296,198, and by doctrine of equivalence infringing
on 7,712,044 are described below:

A non-directional floating icon structure containing “8 circular dots,” with one of the 8
dots colored green while the others grey, instructing the user/viewer which of the
image/content-set in the line-up of the 8 content-sets programmed to display in this
designated display area is presently displaying. Each of the 8 dots can be used interactively
by the user to call forth the corresponding content-set in the line-up of content-sets to
display in the designated display area. This operation infringes on features claimed in
Claim 10 of Patent 10296198 and in the Independent Claims of 7712044 by the
doctrine of the equivalents.

 

 

Claim 10 continued

of a displaying content set, while indicating which of the plurality of content sets is presently
displaying in the designated display area and allowing a user to command the displaying of any set
in the plurality of content sets programmed to be displayed in the designated display area.

 

8108792: Automated scrolling of browser content and automated activation of browser links

Claim 1: A method of displaying and navigating through a website, comprising: displaying on a
display of a computer a page of the website; and during the displaying operation and without any

 

user-initiated actions, automatically scrolling at least part of the page while the user of the computer
does nothing.

Claim 11: An apparatus for displaying and navigating through a website, the apparatus comprising
a computer configured to perform a method comprising: displaying on a computer display a
browser window having a field of view for displaying a page of the website within the field of view;
and during the displaying operation and without any user-initiated actions, automatically scrolling at
least part of the page while the user of the computer does nothing.

9405852. Automated Changing of Content Set Displaying in the Display Screen of a Browser
and Automated Activation of Links Contained in the Displaying Content Set.

Claim 1: A computer implemented method of programming digital content to be displayed on an
interactive display screen of an electronic display device to be viewed by a user, the interactive
display screen is actionable by a user command, the method comprising: displaying a page of
content on the interactive display screen, wherein the page comprises a designated area for
displaying one or more of a plurality of sets of content wherein the space required to display the
plurality of sets of content collectively is larger than the space available in the designated area at a
given point in time; displaying, in the designated area, a first set of content of the plurality of sets of
content for a first period of time; and automatically moving, into the designated area and
replacing the first set of content, a second set of content of the plurality of sets of content for a
second period of time, thus continually and automatically progressing to display a next set of
content of the plurality of sets of content by replacing the immediate preceding set of content

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currently displayed in the designated area; wherein each set of content comprises at least one
actionable link linking to additional actionable content related to an object represented in the
respective set of content currently being displayed in the designated display area; and displaying,
upon activation of the at least one of the actionable links, the additional content related to the object
by the display device, separately from the displaying of the each set of content in the designated
area.

Claim 11: A system for interactively displaying digital content on an electronic display device, the
system manipulating the digital content to display in a dynamic and user friendly manner, the
system comprising at least one computing device comprising a non-transitory computer readable
storage media further comprising executable instructions, further comprising: at least one hardware
processor coupled to the non-transitory computer readable storage media which executes the
instructions and is configured to: display a page of content on an interactive display screen of the
device, wherein the page comprises a designated area for displaying one or more of a plurality of
sets of content wherein the space required to display the plurality of sets of content collectively is
jarger than the space available in the designated area at a given point in time; display, in the
designated area, a first set of content of the plurality of sets of content for a first period of time; and
automatically moving, into the designated area and replacing the first set of content, a second set of
content of the plurality of sets of content for a second period of time, thus continually and
automatically progressing to display a next set of content of the plurality of sets of content by
replacing the immediate preceding set of content currently displayed in the designated area; wherein
each set of content comprises at least one actionable link linking to additional actionable content
related to an object represented in the respective set of content currently being displayed in the
designated area; and display, upon activation of the at least one of the actionable links, the
additional content related to the object by the display device, separately from the displaying of the
each set of content in the designated area.

10,296,198---all claims

1. A method of programming a webpage of a website to time-share at least one designated
displaying area of a part of the webpage to display a plurality of sets of content one set of content at
a time, each for a pre-designated time interval when the webpage is accessed by a user through
entering a uniform resource locater (URL) of the webpage into a web-browser on an interactive
display screen of an electronic display device, the method comprising: designating and defining the
at least one designated displaying area in a user desired displaying area on a desired part of the
webpage for displaying a plurality of sets of content; designing a plurality of sets of content that a
website owner most want users of the website to see on this part of the webpage, and program the
plurality of sets of content to be displayed in the designated displaying area of the webpage and
store them in the database of the webpage; designating a time interval for displaying each set of the
plurality of sets of content; programming the displaying of the webpage to automatically display the
plurality of sets of content one at a time in the designated displaying area of the webpage when the
URL is entered into the web-browser by the user, each set of content displaying for a pre-designated
time interval for the set of content, including: after a first set of content of the plurality of sets of
content displaying for a first interval of time, automatically removing the first set of content from
the designated displaying area, and moving into the designated displaying area a second set of
content of the plurality of sets of content for a second interval of time, the second set of content
replacing the first set of content so that there is continual and automatic progressing to display a

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next set of content of the plurality of sets of content by replacing an immediately preceding set of
content displayed in the designated displaying area, and continually looping through the plurality of
sets of content when no user command is issued for a change, automated looping requiring no user
action, except for when an initiation action to commence automated looping is desired; and
programming a user-website interaction mechanism used with the designated displaying area of the
webpage for the user to receive instructions from the website and for the website to receive a user
command.

2. The method according to claim 1, wherein a content set in the plurality of content sets includes an
image.

3. The method according to claim 1, wherein a content set in the plurality of content sets includes a
video clip.

4. The method according to claim 1, wherein a content set in the plurality of content sets includes an
animated image with a portion of the animated image changing in time.

5. The method according to claim 1, wherein a content set in the plurality of content sets is
embedded with a link, linking to information related to the content set.

6. The method according to claim 1, wherein a mechanism of changing from displaying one content
set to a next content set is a visible scrolling movement of a displaying content set.

7. The method according to claim 1, wherein a mechanism of changing from displaying one content
set to a next content set appears to be a sudden change to human eye, in a fashion of an un-animated
slide show.

8. The method according to claim 1, wherein a mechanism of changing from displaying one content
set to a next content set is an animated change that takes place in a time-duration discernable to
human eye, in a fashion of an animated slide-show.

9. The method according to claim 1, wherein a set of floating directional indicators is displayed
overlapping a displaying content set to allow a viewer to access a previously displayed content set,
or to skip to a next content set in a lineup of the plurality of content sets.

10. The method according to claim 1, wherein a set of floating non-directional indicators is
displayed overlapping a part of a displaying content set, while indicating which of the plurality of
content sets is presently displaying in the designated display area and allowing a user to command
the displaying of any set in the plurality of content sets programmed to be displayed in the
designated display area.

11. The method according to claim 1, wherein a content set in the plurality of content sets is
designed to represent a theme story, a news story, a line of products or services, or a product or
service.

12. A method as in claim 1: wherein at least one set of content in the plurality of sets of content is
embedded with at least one actionable link linking to additional content related to an object

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represented in the respective set of content to be displayed in the designated area; and wherein,
upon activation of the at least one of the actionable links by a user indicating interest, the additional
content linked by the activated link is displayed on the display device for the user.

13. A system comprising a plurality of networked computers and electronic display devices loaded
with software programs including website hosting utilities, databases, web-browser software and
webpage programming and displaying software linking to the web-browser and the electronic
display devices; the system further comprising: a webpage of a website programmed to time-share a
designated displaying area in a part of the webpage to display a plurality of sets of content one set
of content at a time, each for a pre-designated time interval when the webpage is accessed by a user
through entering a uniform resource locater (URL) of the webpage into a web-browser on an
interactive display screen of an electronic display device, the system enables: the designation and
defining of a displaying area on a part of the webpage for displaying a plurality of sets of important
content that a website owner most wants users of the website to see in this designated display area,
designing the plurality of sets of content to store in a easily updatable fashion in the database for the
webpage and designating a desired time interval to display each set of the plurality of the content set
and store the time intervals in an easily updatable fashion in the database of the webpage, displaying
the plurality of sets of content in the designated displaying area of the webpage displaying in a web-
browser each for a designated time interval when a user enters the URL of the webpage into the
web-browser on the electronic display device; the web-browser displaying the webpage on the
electronic device automatically displays the plurality of sets of content one at a time in the
designated displaying area of the webpage when the URL is entered into the web-browser by the
user, each set of content displaying for a pre-designated time interval for the set of content,
including: after a first set of content of the plurality of sets of content displaying for a first interval
of time, automatically removing the first set of content from the designated displaying area, and
moving into the designated displaying area a second set of content of the plurality of sets of content
for a second interval of time, the second set of content replacing the first set of content so that there
is continual and automatic progressing to display a next set of content of the plurality of sets of
content by replacing an immediately preceding set of content displayed in the displaying area, and
continually looping through the plurality of sets of content when no user command is issued for a
change, automated looping requiring no user action, except for when desired an initiation action to
commence automated looping; and a mechanism allowing user-website interaction used with the
designated displaying area of the webpage for the user to receive instructions from the website and
the website to receive a user command.

14. The system according to claim 13, wherein a set of floating non-directional indicators is
displayed overlapping a displaying content set, while indicating which of the plurality of content
sets is presently displaying in the designated display area and allowing a user to command display
of any set in the plurality of content sets programmed to be displayed in the designated display area.

15. The system according to claim 13, wherein a content set in the plurality of content sets is
designed to represent a theme story, a news story, a line of products or services, or a product or
service.

16. The system according to claim 13, wherein a content set in the plurality of content sets includes
an image.

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17. The system according to claim 13, wherein a content set in the plurality of content sets includes
a video clip.

18. The system according to claim 13, wherein a content set in the plurality of content sets includes
an animated image with a portion of the image changing in time.

19. The system according to claim 13, wherein a content set in the plurality of content sets is
embedded with a link, linking to information related to the content set, when the link is activated by
a user, the information is brought forth to display on the electronic display device for the user.

20. The system according to claim 13, wherein a mechanism of changing from displaying one
content set to a next content set is a visible scrolling movement of a displaying content set.

21. The system according to claim 13, wherein a mechanism of changing from displaying one
content set to a next content set appears to be a sudden change to human eye, in a fashion of an un-
animated slide show.

22. The system according to claim 13, wherein a mechanism of changing from displaying one
content set to a next content set is an animated change that takes place in a time-duration
discernable to human eye, in a fashion of an animated slide-show.

23. The system according to claim 13, wherein a set of floating directional indicators is displayed
overlapping a displaying content set to allow a viewer to access a previously displayed content set,
or to skip to a next content set in a lineup of the plurality of content sets.

24. The system according to claim 13, wherein a content set in the plurality of content sets is
embedded with a link, linking to information related to the content set.

Note A: Patent 10,296,198 contains 2 Independent Claims and 24 Total Claims.
Note D: Patent 9,405,802 contains 2 Independent Claims, and 26 Total Claims.

There can be any reasonable number of content-sets programmed to be displayed in any
reasonable number of designated display areas in this page and any other pages, and each can
be programed to display for any reasonable length of time, using any reasonable length of
time for moving/transitioning a content-set data in and out of any designated display area as
desired for a positive effect on the users/visitors/clients/partners/investors to the site, and
bring them greater convenience.

Various sections and pages of the BOA website (s) can be and has been programed to use various
features taught in the specification and claims in the family of Patents: 7308653, 7712044, 8108792,
8850352, 9053205, 9405852, 10296198 and 8438487 in a variety of ways at any given time as
desired by the site owner, while bring more dynamic, changing and exciting attractions to the site to
attract viewership and viewer attention, and improve the efficiency of selling and transaction. Other
Lin-Hendel’s Internet related patents may also have been infringed by Bank of America and
its subsidiaries such as Merrill Lynch.

If Bank of America lawfully pays the licensing and royalty fees it owes the inventor/patent-

owner from the first day Bank of America began to use these patents even more proficiently,
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and there would be and will be no need to litigate in civil court by the patent owner to recover
damage and punitive damages, nor to report these Intellectual Property Theft. For example,
The Agriculture Bank of China and China Merchants Group have been using these patents in
deeper, wider and more advantageous ways.

Patents can be downloaded and printed for free from: www.freepatentsonline.com by
entering each patent number. They can also be obtained from searching with the patent
numbers at www.google.com/patents or www.USPTO.gov .

Several Independent claims in several other patents in this family of patents are listed below
as examples:

7712044

Claim 1: A method of automatically scrolling displayed content, comprising: in an electronic
device with a display and a user input mechanism: displaying content in a display window;
displaying a floating icon; and in response to placement by a user of a cursor on the floating icon,
and without any further user action, automatically scrolling through content extending beyond a
display window into a field of view of the display window in a predetermined direction designated
by the floating icon, wherein the automatic scrolling continues without user input.

Claim 8: A method of automatically scrolling displayed content comprising: in an electronic device
with a display and a user input mechanism: displaying content in a display window; displaying a
plurality of direction indicators; and in response to placement by a user of a cursor on at least one
direction indicator of the plurality of direction indicators, and without any further user action,
automatically scrolling through content extending beyond a display window into a field of view of
the display window in a predetermined direction designated by the at least one direction indicator,
wherein the automatic scrolling continues without user input.

Claim 9: An electronic device with a display having a graphical user interface, comprising: a
browser display window having a field of view; a user input mechanism; and a floating icon for
effectuating automatic scrolling through content in response to a cursor being placed on the floating
icon, wherein the automatic scrolling continues without user input.

Claim 21: An apparatus for displaying and navigating through a website, the apparatus comprising
a computer configured to perform the following: displaying in a computer display a browser
window having a field of view for displaying a webpage of the website within the field of view; and
during the displaying operation and without any user-initiated actions automatically scrolling at
least part of the webpage, while the user of the computer does nothing.

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